Case 9:19-cv-80293-DMM Document 1 Entered on FLSD Docket 03/04/2019 Page 1 of 4



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. _______________________

  MARTIN ROGERS,

                 Plaintiff,
  v.

  CITY OF BOCA RATON, CITY OF BOCA
  RATON POLICE DEPARTMENT; and
  JARED BRUGGEMAN

              Defendants.
  _____________________________________/

                               DEFENDANTS’ NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, the City of Boca Raton (the “City”),

  the City of Boca Raton Police Department (the “Police Department”) and Jared Bruggeman

  (“Officer Bruggeman”) (collectively, the “Defendants”), Defendants in this civil action, hereby

  remove this action from the Fifteenth Judicial Circuit in and for Palm Beach County to the United

  States District Court for the Southern District of Florida. Removal is based on federal question

  jurisdiction because a federal question appears on the face of the initial pleading served by

  Plaintiff, Martin Rogers on the Defendants. In support of this notice of removal, the defendants

  state as follows:

         1.      The Defendants are named as defendants in a civil action originally filed in the

  Fifteenth    Judicial       Circuit   in   and   for   Palm    Beach     County,    Case     No.

  502019CA000942XXXXMB(AE) (the “Amended Complaint”). This state court is located within

  the Southern District of Florida.

         2.      On February 13, 2019, Plaintiff served the City; on February 12, 2019, Plaintiff

  served the Police Department, and on February 12, 2019, the Plaintiff served Officer Bruggeman
Case 9:19-cv-80293-DMM Document 1 Entered on FLSD Docket 03/04/2019 Page 2 of 4



  with a copy of the Amended Complaint.1 Thus, removal is timely pursuant to 28 U.S.C. § 1446(b).

            3.   A copy of the Amended Complaint and all process served on Defendants in this

  case are attached hereto as Composite Exhibit 1, pursuant to 28 U.S.C. § 1446(a). Defendants

  have not been served with any orders in this action, and other than the Amended Complaint, no

  other pleadings were served upon Defendants.

            4.   All Defendants and represented by undersigned counsel, and all Defendants hereby

  consent to removal of this action pursuant to 28 U.S.C. § 1446(b)(2)(A), as represented herein and

  signed by counsel representing the Defendants. See Mitsui Lines Ltd. v. CSX Intermodal Inc., 564

  F. Supp. 2d 1357, 1360-1361 (S.D. Fla. 2008) (explaining “there must be some timely filed written

  indication from each served defendant, or from some person or entity purporting to formally act

  on its behalf in this respect and to have authority to do so, that it has actually consented to such

  action.”) (quoting Getty Oil Corp. v. Insurance Co. of N.A., 841 F.2d 1254, 1262 n.11 (5th Cir.

  1988)).

                                     BASIS FOR JURISDICTION

            5.   Pursuant to 28 U.S.C. § 1331, this Court has original federal question jurisdiction

  over the Amended Complaint in that the Plaintiff has asserted (in Count II) a “Fourth Amendment

  claim … under 42 U.S.C. § 1983, for unlawful search and seizure.” See Amended Complaint, pp.

  8-9.

            6.   This Court has supplemental jurisdiction over the remaining claim (“False

  Imprisonment,” Count I) pursuant to 28 U.S.C. §§ 1367, 1341.



  1
          The referenced dates are the first instances of service on any of the Defendants. The
  (original) Complaint was not served on any of the Defendants.

                      W E I S S S E R O T A H E L F M A N C O L E & B I E R M A N , P. L .

                                                       2
Case 9:19-cv-80293-DMM Document 1 Entered on FLSD Docket 03/04/2019 Page 3 of 4



                                      PROCEDURAL MATTERS

            7.    The City has tendered the filing fee of $400 to the Clerk of Court along with the

  original of this Notice of Removal.

            8.    Venue is proper under 28 U.S.C. §1441(a) because the state court where the suit is

  pending is located in the Southern District of Florida.

            9.    A copy of the Notice of Removal is being contemporaneously filed with the

  Fifteenth Judicial Circuit in and for Palm Beach County Court, pursuant to 28 U.S.C. § 1446(d),

  and the Defendants are otherwise notifying the adverse party of the removal via service of this

  Notice.

            WHEREFORE, the Defendants remove this action, now pending in the Fifteenth Judicial

  Circuit in and for Palm Beach County, to this Court, and respectfully request this Court to assume

  jurisdiction over this matter.

                                     CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on March 4, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached Service

  List in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to electronically receive Notices of Electronic Filing.

                                                    WEISS SEROTA HELFMAN
                                                    COLE & BIERMAN, P.L.
                                                    Counsel for Defendant City of Boca Raton
                                                    200 E. Broward Blvd., Suite 1900
                                                    Fort Lauderdale, FL 33301
                                                    Telephone: (954) 763-4242

                       W E I S S S E R O T A H E L F M A N C O L E & B I E R M A N , P. L .

                                                        3
Case 9:19-cv-80293-DMM Document 1 Entered on FLSD Docket 03/04/2019 Page 4 of 4



                                                Telecopier: (954) 764-7770

                                                By:      /s/ Daniel L. Abbott
                                                         DANIEL L. ABBOTT
                                                         Florida Bar No. 767115
                                                         dabbott@wsh-law.com (primary email)
                                                         pgrotto@wsh-law.com (secondary email)

                                          SERVICE LIST


  Christopher Haddad, Esq.                              Daniel L. Abbott, Esq.
  Law Office of Christopher A. Haddad                   WEISS SEROTA HELFMAN
  7301 S. Dixie Highway, Unit B                         COLE & BIERMAN, P.L.
  West Palm Beach, Florida 33405                        200 E. Broward Blvd., Suite 1900
  Telephone: (561) 832-1126                             Fort Lauderdale, FL 33301
  chris@chrishaddad.com                                 Telephone: (954) 763-4242
  pat@chrishaddad.com                                   dabbott@wsh-law.com
  Attorneys for Plaintiff                               Attorneys for Defendants




                   W E I S S S E R O T A H E L F M A N C O L E & B I E R M A N , P. L .

                                                    4
